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24
64 pWoooH Parchen = recross
THE COURT: You May proceed, Mr. Baum.
DIRECT EXAMINA? T OR
BY MR. BAUM:
a. Mr. Cox, deo YOU OWE A car?
A. Yes,
O. What kind of car?
A. "94 Honda Aecord.
@. And where Were you on the evening of september 6, 2004?
A. J was in the Bronx,
QQ. At approximately p41 p.m. ?
AY towas in the Bronx on, I think at was about 233rd Street.
Q. And when YOU Say you were in the Bronx at 233ra Street,
were you walking, driving?
A, oF was driving,
oO. And what car Were you in?
A. In my, in my vehicle.
9. And did there Come a time when you got stopped?
A. Yes,
O. And, by the way, what kind of windows are on that car?
A. Tt have tinted windows, They're black Like dime tint.
QO. And when You say they're black, can someone S6€@ inside the
car from the outside?
A. No, you Can't.
OQ. Tld like ko show you what ftve Marked for identification as
Defense Exhibits collectively A, B, and C, and ask you AF you
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f 56
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55
64pWcooal Cox - direct

i can identify those photographs,

2 A. Yeah, this is my car,

3 O. Are those a fair and accurate representation of Your car,
4 the way jt looked on the evening of September 6, 2005?

5 A. Yes,

& MR. BAUM: Tf now offer them inte evidence,

7 MR. BRODSKY: Could we take a Loak at them first?

g MR. BAUM: Yeah, sure,

& MS. STRAUBER: Your Honor, I'd like to voir dire oan
LQ Exhibit ©.

1d THE COURT - Certainly,

Le VOTR DYRe EXAMTNAT LON

13 BY MS. STRAUBER :

14 Mr. Cox, Tm showing you what's been marked for

is identification as Defense Exhibit Cc.

Lé MS. STRAUBER: Your Honor, may I stand up here with
7 the witness, sa Io may question him about this Photograph,

18 THE COURT: Why don't YOU go back to the lectern,

19 unless ~- Or, Mr. Baum, why donte YOU approach, too, so you can
20 make sure yeu hear what Ms. Strauber is Saying,

21 MR, BAUM: Ne problem,

ae BY MS. STRAUBER:

23 O. Can you describe what this photograph is depicting?

24 A. Somewhere Like the Pillow of the Passenger seat of my

245 vehicle, but the window's down,

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56
S4pWoooH Cox - direct
0. And when was this pillow that's in the Passenger's seat
Placed in the vehicle?
A, E don't know,
4 Q. Bid you take thak photograph, Sir?
5 A. No, F didn't.
( Did you place that pillow -~
No, I didn't,
Q. “> in thet vehicla?
MS. STRAUBER: Your Honor, £ Would object to the
sien of Defense Bahbibit ©. ttm hot sure what it LS a

fab BQ po

OS os) wy
ORS

Og

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oa
G
a

   

sentation of,
MR. BAUM: May T ask a question.
BY MR. BAUM:

repre

moe ee
ta Noe

14 QO. Other than the piilow, is that a fair and accurate

15 representation of the passenger's seat and the seat belts an
Le that vehicle, as it existed September 6?

1? A. Yes,

18 MR. BAUM: tf now offer it inte evidence,

19 MS. STRAUBER: Same objection.

20 THE COURT: De you have any objection to a and BP
2) MS. STRAURER: todon't have an objection to A and 5B,
22 Your Honer,

23 THE COURT: Defense Exhibits A and B received an

24 evicence,

25 (Defendant's Exhibits A-B received in evidence)

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sv
64 pWoooH Cox - direct

i THE COURT: Where is the pillow? fs it on the seat?

2 MR. BAUM: Yes, Judge, so You can close the seat belt.
3 You can't close the seat belt, unless --

4 THE COURT: May I 2e it.
4 MR. BAUM: oF COUrSE, Your Honor, it's being offered
istrating that the passenger's seat

  
  
  

 

6 only for the Purpose of deme
7 had a seat beit that covers the chest and the Lap.

& THE COURT: Ff dente know that that was ever an issue,
9 MR. BAUM: Weil, if may come out in the defense case,
10 i'm not sure it's an issue either, but Li's going Lo, obviously

da it's just an issue that we're going to bring ouk,

le THE COURT: Al] eight. I'm not going to receive this
13 in evidence at this time. T also notice that the seat is ina
da full upright position, which Nay Or May nok be the way Lt was
18 at fhe time. fr's not particularly helpful, plus, is this

16 through the window with the door closed?

17 MR. BAUM: With the door closed and the window open,
18 THE COURT: Okay.

19 MR, BAUM: I'l ler your Honor lock at these if you
20 wish.

21 THE COURT: A and 1B are received in evidence.

22 MR. BAUM: Thank you, your Honor.
2° BY MR, BAUM:

24 QO. Now, when the car was Stopped, did an officer approach the
25 car on your side of the car?

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64 pWaook Cox + direct
i AL Yes.
2 QO. And, at that time, was your window up or down?
3 A. Window was up when he approached. When he first approached
4 me it was up,
a Q. And what happened after he got up to your side of the car?
& A, I rolled the window down and asked him what was he stopping
‘ me for. 2 rolled the window down and asked him why, what was
8 the reason for stopping me.
9 QO. And what did he say?
10 A. My windows tints and 7? think improper Lane change, or
Td something.
12 @. And did he ask you any other questions?
13 A. Yes.
i4 Q. Yell the Court what he asked You ang what you responded,
iS A, He asked me, have tT, nave IT been incarcerated before,
16 O. And what did you say?
V7 A. I told him yes.
18 O. And what else did he ask you?
19 A. He asked me for what.
20 QO. And what did you say?
2) A, And i hesitated and f told him for possession.
22 2. And what happened after that?
2a A. Then he proceeded to tell me to get out of the car so he
24 could search me.
25 THE COURT: Possession of what?

   

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og
64 pWoook Cox = direct
1 THER WITNESS: What I was -- of a weapon.
2 THE COURT: Okay.
3 BY MR. BAUM:
4 @. And when that occurred, prior to that happening, had you
5 heard that officer on your side of the car ask any questions of
© anyone else in the car?
7 A. Not all.
8 QQ. Who else was in the car?
9 A, Tyrone.
10 Oo. You know him as Tyrone?
1d AY Yes, David.
12 QO. 4nd are you, how do you krow him?
i3 AL He's my cousin,
14 QO. And where was he seated in the car that night?
5 A. About a few inches across in the passenger's seat,
16 Q. So prior to the officer asking you te get out of the car,
1? had you heard him ask anything of Tyrone Cooper?
LE A. Not at all,
i9 Q. And, by the way, when the officer asked you toa get eut of
20 the car, did you get. out of the car?
2] A. Yes,
22 Q. Before you got out of the car, Gid you see Mr. Cooper
23 seated next to you?
24 A. Did 7 -- repeat that.
25 QO. Could you s him seated next ta you?

   

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60
G4 pWeooH Cox - direct
A. Yes,
QO. Were his hands moving in any direction?
A. Wo, tb wasn't moving.
Q. Did he appear to you to be nervous?
THE COURT: No. How did he appear to you. This is
direct examination,
MR. BAUM: Yes.
BY MR, BAUM:
QO. How did he appear to you?
AL 7 wasnt actually paying too much attention, itm not Coo
for sure, but he Wag, you know, being his self. You know, he
was his self.
Q. Did you hear him say anything to the officer?
A. The Was nO communication at all.
QO. After the offleear asked you out of the car, what happened
with Mr. Cooper, did youl nokice?
A. I'm not for sure.
Q. After you were asked out of the car, what did you observe,
if anything? What happened?
A. Well, they just started to Search me up, and i wasn't
really paying so much attention ta what was going on from the
ether officers, you know, from what the other officers was
doing. But they proceeded toa search me.
O°. Prior to getting out of the car, do you know whether
Me, Cooper's wiridew on the passenger's side was up or down?
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64 pWeooH Cox ~ direct
1 A. Repeat that.
2 Qo. Praor te you getting out of the car --
3 A, it was up. Before, all the windows Were up when they
4 stopped me,
5 . Did you see Mr. Cooper roll down the window at any time
6 prior to you getting out of the ear?
7 A. No. f'm not too for sure. Tf don't remember. I can’t
8 remember.
a Q. When you were asked out of the car, what happened to you,
iQ exactiy’?
11 A, They Drought me to the back and proceeded to search ma,
12 and, that was it. They just started searching me.
13 QO. Did you hear Mr, Cooper saying anything?
14 A. No, Eowasn't, no,
is Q. Have you ever been convicted of a erime?

A Yes.
QO And what crime was that?
18 A. Tllegal possession.
Q Of what?
A Of &@ weapon.

21 Q. And is that what you said to the officer?

22 A, Yes,

eo QO. Was it immediately after making that statement that the
24 officer ordered you out of the car?

25 A. Yea,

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64pWoeooH Com om cilreck
L QO. And when you got out of the car, were you searched
? immediately, or was there a pariod of time before being
3 searched?
4 THE COURT: Yes. Don't answer it. Please.

5 MS. STRAUBER: Objection.
8 BY MR. BAUM:

 
 

7 QO. How long elapsed after you got out of the car before they
8 began to search?
G A. Before T got out of the ear, they told me to put my hands
10 up and proceeded to search me.
Lt MR, BAUM: T have ne further questions.
Le MS, SPRAUBER; Your Henor, if T could just have a
i3 moment, .
14 THE COURT; Yes. in fact, why don't we take a brief
LS moming recess, about ten minutes. We'll come back after that.
16 (Re 36}
7 THE COURT: Please be seated,
18 MR. BAUM: Your Honor, -L'd like to ask just one more
19 questian.
20 THE COURT: You're stibl under oath, Mr. Cox,
2t Mr. Raum.
22 BY MR. BAUM:
23 Q. Mr. Cox, when you were ordered out of the car, where was
24 Mr, Cooper?
25 A. I think they told him to get out too, as soon as they told

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63

o4pWooolt Cox - direct

Me

Lo get aut.
MR. BAUM: Thank you, your Honor,
THE COURT: Ms. Strauber.
MS. STRAUBER: Yes, your Honor. ft have just a few

questions.

CRC

SS~EXAMINATION

BY MS, STRAUBER;:

a.

Me. Cox, Mr. Cooper is your cousin, right?

Yes.

And you've known bim for a long time, haven't you?
Yes.

And is it fair to say that you're close to him?

Yeah.

And is it also fair te say that you don't want to see

anything bad happen to yeur cousin?

A,
0.

Yes.
Now, that night, September 6, you were deriving your car, is

that right?

A.
QO.
A,

mY
QO.

Yes.
And when did Mr. Cooper get inte your car?
i can't remember --

MR. BAUM: Objection. Beyond the scope,
THE COURT: Yes, Sustained.

MS. STRAUBER:

When the car was stopped that evening, one officer

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64
64 pWcool Cox - cross
1 approached the driver's side window, right?
2 AL Yes,

3 O. And that officer was Standing right next to where You were
4 sitting in the car, right?

5 A, Io can't -- yeah. Yeah, he was standing right there.

6 O. And that officer talked to you, didn't he?

7 A. Yes.

8 O. And he asked you questions, right?

9 AL Yes,

TG @. And you spoke to him, right?

il A. Yes,

12 Q. You answered his questions, didn't you?

a A. Yes,

id Q. And you looked at him when you were answering his

15 questions, didn't you?

16 A. Yes.

V7 Q. And you were focused on him, r ight?

1.8 AL Yes.

£9 O. You were paying attention to him because he was asking you
20 the questions, right?

2] A. Yes.

22 MS. STRAUBER: JT have nothing further, your Honor,

23 REDIRECT EXAMINATION

24 BY MR, BAUM:

25 Q. How far away was David Cooper from you while you were
SOUTHERN DISTRICT REPORTERS, Pc, (412) 805-0300
baa

had Ds

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ee)

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64 pWeooH Cox - redirect
sealed in the front passenger's seat?
A. ft'’s about five or six inches wide, if that, right next to
me, like right here. Right here.

Q. And when the officer on your side was asking you questions,
ware you looking at the officer the entire time he was asking

 

you questions?
A. iowas like, I can't remember really what TI was doing, but f
Was just, you know, answering whatever he was asking me, kind
of happened quick.

MR. BAUM: No further questions.

THE COURT: Mr. Cox, what did the officer ask you to
show him or give to him?

THE WITNESS: My driver's license and registration.

THE COURT: Where is the registration?

THE WITNESS: Where was the reqistration?

THE COURT: Where de you keep the registration?

THE WITNESS: It was in the armrest,

THE COURT: And what about your license?

THE WITNESS: Imomy back pocket.

THE COURT: Se in order to get the registration, what
did you have to deo?

TRE WITNESS: I just lifted ap and dig inside and --

THe COURT: Did you Look at it?

THE WITNESS : Yeah.

THE COURP: Or did you just dig inside hoping you

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66
64 pWoooH Cox - redirect

1 would hit it?

2 THI WITNESS: No. It's & compartment right on top of
3 the armrest. Once it lifts up, it's like right there, and you
4 Car pull it right out.

2 THE COURP; All right. Any further questions?

S MR. BAUM: Nothing further, your Honor.

7 MS. STRAUBER: Nothing further, your Honer.

8 THE COURT: Thank you, Mr. Cox. You may step down.

9 (Witness excused)

LO MR. BAUM: Your Honor, we'd like to call Bavid Tyrone
1d Cooper toa the witness stand.

i2 TYRONE DAVID COOPER,

13 Defendant, called as a witness, having

i4 been duly sworn, testified as follows:

15 OLRECT EXAMINATION

LG BY MR. BAUM:

7 Q. Mr. Cooper, do you recall where you were on the evening of
18 September 6, 2905, at about 11 p.m.?

19 4. Bronx Boulevard,
20 QO. And specifically, where were you, on the street?

21 A. On the street, in a car.
22 QO. And whese car were you in?
23 A. In my cousin's car.
24 QO. And what's the name of your cousin?

25 A, James Cox.

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67

6d pWeoaH Cooper - direet

i QO. What kind of car is it?

2 A. Ronda Accerd.

3 @. And did there come a time when the car was stopped?

4 A. Yes,

5 QO, Could you tell the judge what happened when the car was

6 stopped? Try and speak a Little bit into the microphone,

7 THE COURT: Yes, that would be good.

8 A, We was pulled over around, I think, 236 Street and Bronx

9 Soulevard, And we saw some of the flashes behind us. As soon
10 as the flashes, my cousin pulled over to the right. + seen the
Li officer come to his side and ft sean the officer come to my

12 side. I didn't see the third officer, Then the officer asked
13 my cousin, tapped on the window, asked him to bring the window
14 down.

15 O. And did you hear the officer say anything to your cousin?
L6G A. Ne asked for his license and registration,

iv Oo. Did you hear your cousin respond in any way?

18 A. I seen him going and go reach for his License and

1g registration,
20 G. And what else did you hear the officer say?
21. A, Then I asked, he asked him iff he was ever incarcerated
22 before,
23 @. And what did you hear your cousin say?
24 A. Ne didn't say it at first, but then -- but then the officer
25 Plirsuecd again saying we going to Find out when we search the

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64pWoooaHl Cooper - direct
1 license, and he told him he's been incarcerated for a weapon,
2 0. And what happened after that?
a A. As soon as he said he'd been incarcerated for a weapon, the
4 officer on his side asked him to get out the car.
5 Q. And where were you at that point?
6 A. io was in the front passenger seat.
7 Q@. And prior to the driver, Mr. Cox, getting out of the car,
8 had the officers said anything toa you?

AY No,

QO. Had he asked you any questions?

A. Neo,

Q. And T'm asking about the officer on the driver's side. Had
he asked you any questions?

A. Ne.

QO. Was there another officer on the passenger's side where you

TM ee

me ud

un

were?
7 A. Yes,

pee

ae

18 QO. By the way, when you were seated in the passenger seat, can
19 you describe to the Court how you were seated?

20 A, f wasn't really sitting too straight up, but I was Leaning
2i back a little bit with my seat belt on,

22 Q. And --

23 A. With my hand to my Lap.

24 Q@. Would you deseribe the seat belt, what kind of seat belt?

26 A. The seat belt was a shoulder, over my shoulder strap.
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Ws who

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69
64 pWoooH Cooper - direct
QO. Were there any other straps from the seat belt to cover
your body?
A. From my waist.
QO. And how did you have your shirt in relation to the seat
helt?
A. My shirt was over my lap because I have a large shirt, so
it just went, my seat belt just went. right aver it.
QO. From the time that you were stopped, did there come a time
when you were ordered out of the car, when someone ordered you
out of the car?
A. 7 was ordered out of the car after the officer on my Side
opened the door and he asked me to get out the car.
QO. Prior to that happening, had the officer on your side asked

 

you any questions?

A. No,

QQ. What was your physical condition that night as you sat in

the car?

AL  ~ was stable. I was normal. 2 was calm. 7 was just

looking upon what was the reason for them to ask my cousin out

the car,

O. Where were your hands?

A. On my lap.

QO. Were they moving in any direction?

A. Wo.

@. How did you feel in terms of your physical condition?
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64pWeooh Cooper -— direct
1 A, YF was normal. f= was fine. I wasn’t nervous, 7 wasn't
2 aweating. My condition was all rieht.
3 QO. Pell the Court what happened afte: your cousin was asked
4 Out of the car. Exactly what happened?
5 A. Well, after a minute, he was asked out the car. The
G officer on my side opened the car door and asked me to get out,
7 AS soon as (ed to get out the car and I stood up, f£ seen
§ (here was an officer to my right side in front of me. And the
9 car door was stilk open so T had nowhere to move, so I felt
10 like I was being detained. And then he asked me to turn
14 around, put my hands on top of the raof of the car.
le QO. At that point, when he asked you te pul your hands on top
13 of fhe roof of the car, had you said anything to him?
14 AL Neo,
iS QO. Had he asked you any other questions at that point?
16 A. No.
1? QO. What happened then?
18 A. He proceeded to search me. He came from my, up to my
19 shoulders, around my underarms, and as soon as he came to my
20 waist, patted to my waist down, he patted to my pocket and felt
2k something and asked me if I had anything on me. And that's
a2 when [ toid him I have a gun on me,
23 O. Ane when you made that statement, had he already begun ta
24 pat you down?

25 A. Yes,
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V4

64pWeooH Cooper « direct

1 Q. And what happened after you made that statement?

2 A. After f£ made that statement, he asked me where the gun was
3 at, J said that he had felt it in my pecket. He knew it was
4 in my right pocket, and he pulled it out my right pocket,

5 Q. And did he ask any questions, any other questions after

6 that?

7 A, He continued to pat me down, asked if I had anything else
8 onome, and J told him 1 had in my left back pocket, - had, I
9 had a substance of crack.

10 QO. Did there come a time later that night when you were given
bl your Miranda warnings?

Le A. Yes.

3 QO. And dia there come a time when you gave a written

14 statement?

Bo AL Yes,

16 Q. dtd like to show you Government's Exhibit 3, which is in
1? evidence, and ask you if that's the statement that you gave.
L8 A. Yes.

19 QO. Was that statement truthful?

26 A. Yes,
al Q. Did anybody tel} you what to say?
22 A. Wo.
23 QO. And in reference to the, your search and your being --

2 withdrawn,
25 Did you write part of that statement --

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G4 pWoooH Caoper - direct
THE COURT: No, no, no, no,
MS, STRAUBER: Objection.
THE COURT: It's already objectionable.
MR. BAUM: Okay. .
Tilly COURT: Rephrase the question.
MR. BAUM: J wili. Thank you, Judge.
Q. What did you write in that statement concerning when the
gun was found on your person?
A. To wrote in the process of him searching me, he asked me a
question, if I had anything on me, and I told him that I had a
gun on me,
QO. Have you ever been convicted of a felony?
A. No.
Q. Have you ever been convicted of a misdemeanor?
A. Yes,
Q. What have you been convicted of?
A, A misdemeanor for a weapon. And for selling to an
undercover officer.
Q. What kind of, when you say selling, selling drugs?
A. Yes,
QO. What kind of drugs?
A. Weed.
QO. Was that a misdemeanor or felony?
A. Misdemeanor.
QO. When you say "weed," you mean --
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a
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64pWcoohl Cooper - direct
A. J mean marijuana.
MR. BAUM: Okay. No further questions, your Honor,
PHis COURT: Ms. Strauber.
MS. STRAUBER: Your Honor, if = could have a moment.
THE COURT: Yes, you may.
MS. STRAUBER: Your Honor, the government is ready and
has a few questions.
CROSS-EXAMINAT ION
BY MS. STRAUBER:
Q. Mr. Coopar, on September 6, 2005, you were stopped by the
police while you were driving in the Bronx, correct?
A, Yes.
QO. And it! was at night, right?
A. Yes.
QG. And you were in the area of Bronx Boulevard and 236th
Street when you were stopped, right?
A. Yes.
oO. You weren't alone, were you?
A. No.
QO. Your cousin was in the car, right?
A. Yes.
O. And that's James Cox, correct?
A. Yes.
O. He was driving the car?
A, Yes,
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G4pWcooH Cooper ~- cress
I Q. You were sitting in the frent passenger's seat, right?
2 AL Yes, ,

3 QO. And the car you ware in was a red Honda, right?
4 A. Yes,

5 O. And it had dark tinted windows, didn't it?

6 A, Yes.

 

7 Q. And those tints were on the Front, passenger, and driver

3 windows as well as the back Windows, correct?

g A, Yes.
LQ Q. And right before your car was stopped, the car swerved
11 around another car that was waiting at an intersection, didn't

12 it?

13 A. Ne.
14 OG, Your
1h at the int
LG that your
1? A. 3

ar didn't swerve around another car that was stopped
liately before you were pulled over, is

 

thier imme
—Laiony?

    

    

18 Q. After your car was pulled aver, two officers approached

14 your side of the vehicle, right?

20 A. Not that I know of. f only noticed that it was one. 7

2) didn't know that there was another one until 7 got out the car.
22 @. One officer approached the driver's side, right?

23 A. Yas,
24 QO. Ancd you put the front Passenger side window down as the
25 officers approached, isn't that right?
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75
64 pWeooH Cooper = cross
A. No,
Q. You put the front Passenger side Window dawn at Sone point
after the officers had approached the CaYr, viaht?
A, Ne,
QO. Bid you PUL the, you put the front passenger side window
down at some point prior ta exiting the car, Gidn't£ you?
A. No,
Q. So is it Your testimony, Sir, that YOu satin the car with
the windaw rolled up as the officers stood outside?
A, Yes,
QO. Is that your testimony?
A. Yes.
Q. The driver's side window Was rolled down, is that correct?
A, Yes,
9. But atts Your testimony that Chat was the only window that
Was roiled down in the car?
A. Yes,
9. And so ag You were sitting in the Car, you couldn't sea --
cid you see any officers on YOUYr side of the car?
A. ALL T Could see is one, TI can't see out the tints, The
tints was too dark, so I couldn't see the second officer
because I Wasn't moving, looking around. To just seen to my
right ane yf Seen somebody Standing right. there,
QO. And those officers never knocked on the window and asked
You to roll the window down, did they?

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64pWoooh Cooper - crass

A. No.

Q. And it's your testimony that the officer on the driver's
side of the car didn't request that the passenger side window
be rolled down? Is that your testimony?

A. Yes, it is.

QO. So no officer said anything to you or indicated in any way
that you should roll dewn your window, i¢ that your testimony?
A. Yes, it is,

O. Now, you testified on direct examination that when the car

Nob

 

wr s a

Lo oD

was stopped, you weren't nervous, is that right?
A, Yes. JT wasn't,

mt

L2 O. in fact, you testified that you felt calm?

13 A, Yes,

14 Q. You testified that you felt normal, is that right?

5 AL Yes.

i6 @. And when the officers approached your car, one officer on
1? the driver's side, one on the passenger's side that you could
18 see, you still didn't feel nervous, did you? Ts that your

LS testimony?

20 A. Yes, I didn't feel nervous.

al
22a
23

im fact, you continued to feel calm?
Beactly.
is that right?

Por

24 Yes.
2 Q. Now, you knew that your car had just been stopped by the

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ay
b4pWeaah Cooper = cross
police, didn't you?
2 A, Yes,

3 QO. You knew that the officer who was at the driver's side was
4 a police officer, right?
5 A. Yes, ¥ did,
6 Q. And you knew that you had drugs in your pocket, didn't you?
7 A. Yes, F did.
8 O. In fack, you knew that you had crack in Your packet, right?
o A. Yes,
ime) @. And you knew that You had a specific amount of erack in
LL YOU pocket, didn't you?
fe A. Yes,
13 Q. In fact, you had 17 grams of crack in your pocket, right?
L4 A. Yes,
15 QO. And you knew that it wasn't Legal for you to have 17 grams
16 of crack in your pocket, right?
17 A. Yes,
8 QO. You also knew that you had @ gun on you, right?
19 A. Yes.
20 G. And you knew that that. gun had a seratched off serial
21. number, didn't you?
22 A. Yes,
23 Q@. And you knew that that gun was loaded, didn't you?
24 A. I don't know. There WaS one in the chamber. JT didn't see
as nothing in the chamber, but I knew it was loaded. There was

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64 pWaooaH Coopar ~ cross

1 bullets in the clip.

2 Q. And you knew that tt was working, right, that it could he

3 fired?

4 A. No, i didn't.

a @. You didn't know whether that gun could be fired or note?

6 A. No, T didn't,

7 QO. You knew it wasn't legal for you to have that gun on you,

8 didn't: you?

3 A. Yes,

10 Q. Ane you knew that you could be arrested for having that gun
ii On you, right?

12 A, Yes.

13 G. And you knew you could be arrested for having crack on you,
14 right?

LS A. Yes.

6 QO. Anc you know that police officers can make arrests, right?
i? A. Yes.

18 O. And you were on probation at the time that your Car was

Lo stopped, weren't you?
26 A. Yes,
2] OQ. But it's your testimony that when these Officers approached
ae YOUr Car, you were completely calm?
23 A. Yes,

24 Q. Now, you told the officers who arrested you that the erack
25 that you had on Your person was for personal use, right?

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64 pWoooH Cooper - cross
i A. Yes.
2 MR. BAUM: Objection, your Honor. There was no
3 Cestimony of this from Mr. Cooper. There was testimony brought
4 out on the government's case that there was a statement made
5 about that. So f abject to him being asked about this. Te
6 goes beyond the scope of the hearing and beyond the scope of
7 his direct examination.
5 THE COURT: Well, if there's a good Faith basis for
a the government to ask it, To will permit it.
10 BY MS, S'TRAUBER:
Ll Q. Had you used crack in the past 24 hours before your car was
12 Stopped, Mr. Cooper?
13 MR. BAUM: Objection.
ld THE COURT: Yeah, That is a little bit beyond.
15 BY MS. STRAUBER:
16 QO. Had you used cevack at any time before your car was stopped?
L? MR. BAUM: Objection,
ie PHE COURT: I'L allow that.
19 MR. BAUM: Judge, this is going to, I think, what may
20 be the ultimate issue at trial, and I think the government's
ale trying to do a trial GCross~examination here, which would
22 otherwise be inadmissible and has no bearing on the facts OF
23 this case and certainly goes beyond the direct.
24 MR. BRODSKY: Your Honor, if Yt may, it goes directly
2g to his perception at the time that these events are taking

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BO
64 pWooolt Cooper = cross

4 place,

2 THE COURT: Pty] allow it. You May answer,

3 BY MS. S'PRAUBER:

4 O. In faet, before YOU went to, before you were incarcerated
5 on this charge, You used crack Frequently, didn't yon,

6 Mr. Cooper?

a MR. BAUM: Objection,

8 THE COURT:  ~'13 Sustain an objection as £o the form,
3 BY MS. STRAUBER:

10 O. Mr. Cooper, at any time prier to the time that Your car was
i] stopped, had you used crack?

12 MR, BAUM: Objection.

13 THE COURT: Six Years ago, Five years ago, two years
i4 ago? When are you talking about hare? het's put a time frame
15 on that.

16 BY MS, SPRAUBRER :

1? Q. Within the week prior to the stop of your car on September
18 6, had you used crack?

19 A. Within the week, yes,
20 QO. You used crack a few times a4 week, Mr, Cooper, is that
2d rignt?
Ze MR. BAUM: Objection,
23 TRE COURT: ft] Sustain that,
24 BY MS. STRAUBER:
245 QO. Mr, Cooper, you would agree that orack is addictive,

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64 pWeaok Cooper - cross
wolildn't you?
MR. BAUM: Objection,
THE COURT: T'El sustain that,
BY MS. STRAUBER:
Q. Mr. Cooper, were you high on crack at the time that the
officers stopped the car?
A. No,
QO. Mr. Cooper, had you been using marijuana the day that the
officers stopped the car?
MR. BAUM: Objection. There's absolutely no
testimony.
THE COURT: T['dt Sustain it.
BY MS. STRAUBRER:
9. Mr. Cooper, the crack that you had on you when you were
arrested selis for about S400, is that right?
MR. BAUM: Objection,
THE COURT: F142 sustain that,
BY MS. STRAUBER:
O. This wasn't Your first arrest for a gun offense, was it,
Mr. Cooper?
A. No,
QO. in fact, YOu Were arrested on January 23, 2001, weren't
you?
A. Yes.
QO. And that arrest wag in Mount Vernon, wasn't it?
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64 pWoooll Cooper ~ cross

1. A. Yes,

2 QO. You were at Tenth Avenne and First Street, weren't you?

3 A. Yes,

4j QO. And you had a gun in your left coat pocket, didn't you?

a A. Yes,

G QO. And that Gum had six rounds of ammunition ir it, correct?

7 A. Yes,

8 QO. And it had the serial number seratched off, correct?

o A. Not that 2 remember.

10 MS. STRAUBER: Let me show you something to see if it
Li rélreshes your recollection.

LZ MR. BAUM: Judge, it would be collateral,

i3 THE COURT: Right.

4 BY MS. S'PRAUBER:
is O. You alsa had drugs on you when You were arrested for that
LG offense, didn't you?
L? A, Yes,
18 QO. in fact, you were smoking marijuana when you were arrested,
1S weren'h you?
20 A. Yes,
2] Q. And you alse had 14 4iploc bags of Marijuana in your pocket
Ze on that day, didn't you?
23 A. Yes,
24 @. And when the officers tried te arrest YOu, you tried to run
25 away, didn't you?

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83
64pWooak Cooper - cross
1 MR. BAUM: Objection.
a THE COURT: Yes. Let's stick with the current issue
3 before the Court.
4 MS. STRAUBER: 2 have just a few more questions, your
a Honer,
6G THis COURT: I hope that they're net about the prior
7 arrest,
8 BY MS. STRAUBER:
g Q. You were arrested for selling marijuana on July 9 of 2003,
LG ten't that right?
Ld A, Yes,
12 OQ. And that was alse in Mount Vernon, wasn't it?
13 A. Yes,
14 O. And you pled guilty to that offense, didn't you?
15 A, Yes,
L6 MS. STRAUBER: <= have nothing further, your Honor.
1? THE COURT: Thank you, Ms. Strauber,
18 Mr. Baum.
19 MR, BAUM: Nothing further, your Honor.
20 THE COURT: ALL right. You May step dawn, Mr. Cooper.
21 (Witness excused}
22 THE COURT: Any further witnesses, Mr. Baum?
23 MR. BAUM: Nothing further from the defense, your
24 Honor,
25 THE COURT: Anything further witnesses from the

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o4pWoookt Cooper - cross
1 government ?
2 MS. STRAUBER: Nothing Further from the government,
3 your Honor,
4 TR

    

COURT: ALL right. We're going to take our

 

5 luncheon recess. At 2:30, we will reconvene, Iowid? hear your
& arguments, and, at that point, if t feel it is appropriate, I
? will make my ruling.

8 MR. BAUM: Would your Honar like to have a posthearing
9 memo Crom the parties? Tm Prepared to go forward.

LO THE COURT: No, ¢ wouldn't. Unless, of course, J

ill change my mind after J hear your stirring summations,

Le MR. BAUM: TI promise it wild be stirring.

ia THE COURT: Enjey your lunch,

14 (Luncheon recess}

is

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85
64 pWeooH Cooper - cross

1 APTERNOON SESSTON

2 2:40 pom.

3 THE COURT: Goad afternoon. Please be Seated.

4 Mr. Baum, would you like to start?

S MR. BAUM: OF Course, your Honor.

6 I believe that your Honor's decision in this case

7 Sts heavily on what facts you adept. There were two

8 conflicting versions of events on that night. I Submit to your
3 Honer that the defense version offered through two witnesses

10 was not only consistent with itself but bighly credible, more
Li S06 than the gevermment's version, which was inconsistent in

ié Many respects between the two police officers',

13 The most compelling evidence of the defense version of
14 events, which is as follows, to briefly summarize the defense
LS version, as testified to by the two witnesses: The car is

16 stopped for a traffic infvaction, We do not contest that there
7 Was a traffic infraction;

18 That. upon Deind stopped, that the officer, one officer
14 approached the driver and asked the driver numerous questions;
20 That at some point in the questioning of the driver,
21 he was asked whether he'd ever been arrested Or convicted.
22 When the driver said that he had been arrested for possession
23 oF & weapon, the officers decided to remove everybody out of
24 the car and search them. Our version of the events is Just
25 that simple.

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86
64 poWcooh

it's during the course of the search of Mr. Cooper
that he's asked a question as to whether he has anything on
him. And to which he responds, Ef your Honor finds that
rsion to be credible, you must Suppress not only the physical
evidence but the statements as to proof of the initial
iilegality because if that version is believed, then there was
a detention, there was an arrest, and there was a search
without prebable cause. Fven if the government argues that, if
that version of the Facts is accepted, even if the government
argues that this was a Terry stop, there's an insufficient
basis on the defense version of the facts to justify a Terry
stop because both defense witnesses said that Mr. Cooper was
not asked any questions. And Mr. Cooper testified he was not
evasive, he was not questioned, he was not sweating. He was
not mervous. He sat in the car. igs seat belt was on, and he
was asked to get out when the driver said he'd been previously
arrested.

At that point, he testified that he believed he was
under arrest, He was told tea get against the car, and he was
Searched, and f submit that that is a very credible set of
clreumstances that would occur had the officers asked tha
dviver about any prior incidents. I think it's credible to
believe that the officers would have asked by removing the
Passengers and searching him upon learning that the driver had
& prior record for possession of a weapon,

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S4pWoooH

qd But what makes the defense version cértainiy more

2 credible is one simple compelling piece of evidence that your

3 Honor has,

4 THE COURT:  Government’s Exhibit 3,

5 MR. GAUM: Government's Exhibit 3.

& At a time when there was no motive to lite, no contact
7 with an attorney, no, I would have to submit. te your Honor, of
i course I'm submitting this as a Fact for your Honor to infer,

9 ata time when he has no knowledge of the legal consequences of
10 what has transpired that Night, he writes in his statement,

Li when he's asked teil us what happened tonight, he writes, In

12 the process of s@ing searched, I was asked if Y had anything on
13 me and ¢ confessed that Iohave a gun. That is, I believe,

id overwhelming evidence that the defense version is accurate and
Ts credible.

LG Looking at the qovernment version, I think there were
i S@rious inconsistencies between the two officers, most notably
18 on statements, what Was said. The first atficer testified that
13 ne asked Mr, Cooper certain questions about whether he was
20 feeling okay, Mr. Cooper nodded and mouthed certain words. The
2t Second officer said he never heard that. Not only that, but

22 the second officer said he asked Mr. Cooper a bunch of
423 questions, and the first officer said that that never happened,
24 That is a major inconsistency in the events, 7 submit to your
25 Honor that the Cestimony about Mr, Cooper covering his pants,

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64 pWoooH
being nervous, sweating is also inconsistent with the questions

 

   

1

2 lt asked the officer about a form he filled out, where it asked
3 him to write down what the physical condition of mr. Cooper

4 was, and he put down normal.

5 Now, I know that perhaps that can be explained in many
6 different ways, Nonetheless, it is inconsistent with the

7 testimony that was given, And as I stated, your Honor, ft think
8 it's clear that the two officers’ testimony is inconsistent

9 with each other in very Major ways.

Lo What T think happened here, and it's sad for me te

Li assert this, is that it happened exactly the way the defense

12 said, Having found the Weapons, the officers sought to justify
i the search, and the way that they sought to justify the search
14 Was one of Lwo ways, to say that there was enough basis for a
LS pat down, when Mr. Cooper exited the Car, and then just to be
LG eure, Lo say that Mr. Cooper said "f Nave @ gun." Not only is
17 that illogical, having seen Mr, Cooper on the witness stand,

18 having heard that he's not a novice to the criminal justice

Lg System, that is illegical to believe that he would step out of
20 the car and say I have a gun. He's been arrested before, and,
et as I said, he's not a novice. That doesn't make sense, and
Be it's inconsistent with the testimony the government presented,
23 What we then have is you Can adopt part of the
24 government’ s case and still find that this evidence has to be
2a Suppressed. In what way? 2 don't believe that the credible

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64pWcooH
| testimony makes out a sufficient basis, assuming that
2 Mr. Cooper never said I have a gun, assuming he said it just
3 the way he wrote in his statement, that that statement was made
4 during the pat down. You can adopt that and adopt part of the
a government's case, but I submit to your Honer the fact that

 

6 they say he was nervous, Sweating, and had a shirt over his

 

Y pants, does not provide any basis for a pat down, on that

& alone.

9 i peant your Honor to the decision of Judge Motley in
LO United States v. Baptiste, which was in my memo of Law, It's
14 cited at 556 F.Supp. 284. There are similar facts there, and
12 Judge Motley suppressed the evidence.

13 In Baptiste, the defendant was a passenger in a

 

 

14 vehicle, Fhe vehicle was stopped for a traffic infraction.

Ls The passenger was asked te exit from the vehicle. The

16 testimony at the hearing was that, and I'm quoting, "the

1? passenger was nervous, was fumbling with papers in his hand,

1a and his hands were shaking." Thereafter, the passenger dropped
19 some of the papers and attempts to hide it by putting his foot
20 over it. The papers are retrieved. They find out that there's
21. evidence in the papers. They then search the car and fine

22 drugs, and Judge Motley found that the facts that fT just gave
23 te you -- nervous, fumbling with papers, handshaking -- were

24 insufficient basis for a Terry step.

25 it omight add that Judge Motley also said that

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90
64pWoook
Nervousness, at page 289 af her decision, “nervousness on the
Part of one stopped by a police officer is not at all unusual."
fo would submit the second part of what the officer said, which
is the shirt over the belt, there is absolutely no basis to
believe that that gives suspicion of criminal activity. TF you
believe, again, part of the gevernpment's witnesses, well, then
you Nave to believe the second afficer, that he Was, in this
Sense, that he asked him a question. £ submit this didn't
happen, but if your Honor wants to adopt part, he asked him a
question, Where are You coming fram. He responded. He asked
him other questions, he didntt respond, That's nat enough far
a& Terry Stop and a search.

He made no furtive movements, He did nat pull his
shirt over his pants to try and hide something. There is no
2stimony of a bulge in his pants. There's ne testimony of
rF OF any danger of the police of fi - ff think on the
entire recore here, that the defense case is credible. Again,
Government's Exhibit 3 Says it all. It should he totally
uncontested, There is no way to believe that when he wrote
that atement, that anything he said there was false and
tailored to set himself up for this hearing. And 1 submit to
Your Honor, based on all the evidence, that your Honor should
SUPPress not only the Physical evidence but the statements that
were made as the fruit of the physical evidence.

On the statement Part, E would only submit to your

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64 pWaooH

  

 

 

 

 

 

1 Honor that there are certain circumstances under which
a statements may be admissible, statements made later, following
3 a Fourth Amendment vielation. But the government presented no
4 evidence that would justify the Court to find that the
5 statements are admissible. In other words, the government
& would have had to show evidence of attenuation or that some way
7 the taint had been dissipated. They presented no evidence
8 whatsoever in that regard. So we're asking for suppression of
9 beth the physical evidence and the statements.
10 THE COURT: Thank you, Mr. Baum.
La Ms, Strauber,
L2 MS. STRAUBIER: Yes, your Honor,
13 it's the government's position that the testimony that
14 was heard by the Court this morning established that the
iS officers had reasonable suspicion to helieve that the defendant
i6 Was @ither involved in or had been involved in criminal
Li activity, or that there was a threat to the officers' safety,
18 as Sary to conduct a brief investigatory detention and
me, pat-down search of the defendant.
20 As the Court is well aware, a police officer can
él conduct such a detention by stepping an individual to
2g investigate potentially criminal behavior, as long as at the
23 time the officer effects the stop, the officer has reasonable
24 suspicion to believe that criminal activity has occurred or is
25 about to occur, Yhat type of suspicion is measured by an

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92

64 pWoooH
objective test and by reviewing the cirecumstances as a whole,
BCrete parts of the evidence, And this

  

cond Circuit has deseribed as not a
‘eoone {oO satisfy and sufficientiy Less demanding than

 

 

5 that that’s required for probable cause.

6 The evidence that establishes that there was

7 reasonable suspicion here includes the officers! testimony,
8 which, if credited by the Court, makes clear that there was

enable suspicion here. The fact that the defendant's
estimony was wholly ineredible, and the fact that the
nimeny of Mr. Cox simply dees not go ta the issues that, the

  
 

    

 

 

L2 critical facts that establish whether or not there was

13 reasonable suspicion here.

la SO starting with the officers! testimony, both

15 officers testified ner only that Mr. Cooper seemed nervous bur

16 that he was behaving in a way that gave rise to reasonable

1? Suspicion, First, they testified that he had his shirt pulled

18 Up over the Lap belt of the seat belt. Now, it's simply

19 logical to recognize that when you put on a seat belt that has

20 a shoulder belt and a lap belt, it gees aver your clothes. Ss

eu if an article of clothing that you're wearing that's under your
22 shoulder belt is over the lap belt, it has to be because it was
23 deliberately placed in that position.

24 Second, both of the officers, and both of the officers

25 testified that they observed the defendant's clothing in that
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93
Gd pWooon
position over the lap belt, and apecifically that it was, that
iy over the right side of

 

  

a the article of Clothing was prime

3 the lap belt. And that is consistent with someone wha is

4 trying to hide something under that clothing.

5 second, both of the officers testified that the

& defendant was breathing heavily. They also both testified and
7 this is, one testified that he asked the defendant if he was

8 okay, and the defendant said he was not okay. And my

4 understanding of the record, I think this is contrary to what
L6 My. Baum said, is that the other officer testified that he

EA heard Officer Deleren ask the defendant if he was okay, and

12 that he saw, he observed the defendant shake his head na.

13 Officer Deloren also testified that he could see sweat.
14 on the defendant's forehead and that he was moving his head

15 from side to side, and Officer Parchen lestified that when he
iG asked the defendant certain basic questions, questions that the

ndant did not have an ooligation to answer, but certain

 
   

 

17 det

18 > questions, the defendant failed to answer those basic

19 questions after answering the first one, which involved where
20 he was coming from.

2k Courts have recognized that experienced jaw

a2 enforcement officers Like these officers are well positioned to
23 make judgments about the individuals that they encounter and

“4 about whether those individuals are behaving in a way that

25 indicates that they could be armed and dangerous, that they

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94
64pWeoooh

i could have been or could currently be involved in criminal

2 activity. There's also testimony before the Court that this

3 defendant and this car was stopped in a high-cxime area, an

4 area where gun offenses and drug offenses are common, and that
5 too is part of the circumstances that the Court should consider
6 in evatuating whether there was reasonable suspicion here,

7 But, in addition te ali of that evidence about how the
8 Gelendant behaved in the car when the car was stopped, both

9 officers testified that the defendant said at some point before
LO he was patted down that he had a weapon on him, that he had a
il gun, that he had a gun. And on these critical facts, the
Le officers’ testimony was entirely consistent and it was

13 credible.
14 Now, the defendant's testimony obviously contradicted
1s the officers’ account af events. It's the government's
16 Position that the defendant's testimony was simply not
iL? credible. Et wasn't credible on amall things, such as whether
18 his car had swerved before it was pulled over. But more
15 importantly, if wasn't credible on two important issues, one,
20 whether the defendant was nervous or not when he was stopped,
ai when his car was stopped by the police, and, two, whether he
22 Was asked to or did roll his window down prior to being ordered
23 out of the car.
a4 Taking the defendant's testimony about the window,
25 simply, first of ali, it's contradicted by the testimony of

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64pWeooh
both officers. It's alse contradicted by the detailed
information that Officer Parchen testified about that he
observed through the window as he stood next to the passenger's
Side of the car.

   

5 It alsa simply defies common sense that officers would

6 stOp @ Car, approach on both sides of the car and allow the

t passenger's side window to remain up so that the officers on

8 the passenger's side of the car would not be able to view the

9 Passenger, see what he was doing. They have arguably a better
10 vantage point than the officer on the driver's side, ft simply
14 Makes no sense that they would allow the window to remain

12 raised during the period of that stop,

13 L’Li also note that the defendant contends that he was
id ordered out of the car. If he was ordered out of the car by

1S Officer Parchen and the window was closed, it's not clear haw
16 the defendant could have heard that he was being asked to cet
17? out of the car,

18 I think, more importantly, the defendant's Lestimony
19 that he was entirely calm, appeared normal, was not nervous
20 when the car was stopped is simply incredible, The defendant
fi acknowledges that he was in possession of crack, that he knew
22 he was in possession of crack, that he was in possession of a
23 gun, it was in his pocket. For the defendant to say that
24 notwithstanding the fact that he knew he could be arrested, he
25 knew he was engaged in illegal behavior and he knew he was

 

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96
64 pWoooll
1 being stopped by the police, to say that that did not cause him
a to be nervous and that he remained completely calm dust defies
3 commen sense,
4 Mr. Baum has pointed to the Faet that certain pediqree

 

  

  

 

S information described the defendant's physical condition as

6 normal. Tt indicates that that casts some doubt on the

7 officers’ version of events. First of all, the Faet that

& somecne is breathing heavily and sweating Ls consistent with a

9 feeling of extreme Nervousness, Nok necessarily with a physical
LQ abnormabity. But, more importantly, there's no evidence, and
il. indeed, again, the officers! testimony about doing arrest

12 processing after he returned to the precingt is consistent with
13 the view that that pedigree information, as is typically the

14 case, was not filled out at the scene; it was Filled out back
is al the precinct. And there's no evidence that the defendant's
16 heavy breathing or sweating continued throughout the period

LL? when he was arrested and then brought back to the precinct.

138 Finally, with respect to Mr. Cox's testimony, that

19 testimony is simply not material te the critical facts that the
20 Court has to assess and determine in deciding whether there was
21 reasonable suspicion here. As Mr. Cox acknowledged repeatedly,
22 he simply didn't pay attention to what was happening with
23 Mr. Cooper. When he was being asked questions by the officer
24 who was on his side of the car, he answered those questions,
25 He talked to the officer, he paid attention to him. When he

 

 

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a7

64pWocol

1 was ordered out of the car and being searched, he said he

2 didn't know what Was going on with Mr. Cooper. He wasn't

3 réaliy paying attention to that. Ane, therefore, for alj those
4 Peasons, 1lt's the governmentts position that there wag

5 reasonable suspicion here, and that the evidence should not be

6 suppressed.

7 THE COURT: Thank you, Ms. Strauher,

8 Powant to ask counsel a Few questions. Ms, Strauber,

g is it the government's position that when you say that the
LO shirt was pulled aver that the shirt was actually outside of
tt the lap part of the belt and over that and over the pants?
Le MS. STRAUBER: Yes, your Honor. tft's the government's
13 position that the shirt was Ccavering the lap belt which
14 ordinarily would be visible. And that it Was covering, yes,
1S that it was covering the belt and also the defendant's pants
16 would be underneath that, it would be covering the pants as
A? well, and then that it was ~~ it appeared to be covering
18 primarily the right side of the lap belt,
19 THE COURT: What kind of pants was he wearing, just
20 out of curiosity?
2t Mo. S'TRAUBER: Your Honor, I recegnize and the Court
22 iS aware there was no testimony in the record about the kind of
23 Pants that the defendant WaS wearing. And actually, I'm juse
24 looking at the arrest Feport, where clothing is described,
25 This is in your Honeor's binder, it's the second page of 3501.

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98
64 pWoooh
And I don't see a description there of the Cype of pants that
the defendant was wearing.

Your Honor, could t just add some additional remarks?
4 THE COURT: sure,

_

Le BS

 

a MS. STRAUBER: With respect to Government's Exhibit 3,
6 Mr. Baum has argued that that statement. was made

4 Contemporaneously with the events that occurred at the arrest

8 and, therefore, that the de endant had no motive ta lie. Friis

  

 

9 the government's Position that that is Simply not the case,
LG The defendant, as defense counsel also acknowledged, is not a
Ld novice with respect to the criminal justice system. He has had
L2 two Prior convictions. And he had every motive to suggest that
£3 there was something possibly deficient about the way that he
14 WAS searched, though the fact that he made that statement given
ES hie experience with the criminal justice system is simply not
16 an indication that the search occurred and the events of this
Le incident occurred as he has Said that they did.

18 THE COURT: Of course, that would mean that he knows
19 the law better than the two afficera de.
20 MS. STRAUBER: Well, only, I Suppose, if his version
21 of events, only if his version of events is credited. But 1
22 think the fact that he does have some experience with the
23 criminal justice system Suggests that his statement cannot
24 necessarily be taken as simply at face value or without any
25 motive to lie,

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64pWoooh
1 MR. BAUM: May I respond to that,
2 THE COURT: Not yet. - have a few more questions.
3 At least one was a misdemeanor. What was the other
4 ore?
5 MS. STRAUBER: Your Honer, I believe they were both

  
  

6 misdemeanors. One was a criminal sale of marijuana and one was
7 a Criminal possession of a leaded firearn.
8 THE COURT: And he pleaded quilty to both?
4 Mo. STRAUBER: Yes, your Honor. That was my
1a understanding from reviewing the criminal history.
a THE COURT: Mr. Baum.
1? MR. BAUM: Just on this last point, the government
13 can't nave it both ways. To suqgest that he knew what he was
14 doing when he wrote that statement would also suggest that,
LS therefore, he wouldn't be nervous because he would know that
L6G they don't have a basis to search him. Tt would mean that he
V7 wouldn't walk out of the car saying I have a gun on me,
18 You can't just have it both ways, and I think that may
19 argument certainly is, is certainly credible. He doesn't know,
20 he doesn't know the law. He just knew this is what happened,
24 and I'm going to write it down.
a2 MS. STRAUBER: Your Honor, if I could just briefly
23 respond to that, on the point that £t would he Lillogical to
24 suggest that he would get out of the car and Say I have a gun,
29 that's not illogical. It's consistent with the defendant's

 
 

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64 pWeooH

1 recognition that he was caught, that he would have been stopped
2 by police, that he was in a car, that he was in possession of a
3 gun and of crack, and that this was a very serious situation

4 for him. ft's the same reason why it's entirely logical to

5 conclude that he was nervous and entirely Logical ta conclude

& or to see why he wouid say I have a gun when he got out of the
7 car, because he knew that he was in trouble.

i MR. BAUM: Judge, one word. Not one word, but one

a sentence, perhaps.

10 Lf that is the government's argument, then they're

Lia saying he lied when he wrote this statement. If he accepted

12 that, you got me, I'm caught, I walk out of the Car, say T have
13 a gun on me, why does he write in the Statement that the gun --
14 he was asked during the process of the search. ‘They're arguing
TS that he knew he was caught and he was honest. If he knew he

is was caught and he was honest, how could he Lie in a statemant?
L? THE COURT: All right. f'm going to take a brief

18 recess,

iS (Recess}
20 MS. STRAUBBR: Your Honer, the government Just wanted
2h Co put something on the record, We'd be happy to repeat this
22 when the defendant comes out. But the government just wanted
23 fo offer, if Lt would be useful to the Court, to submit
24 additienal briefing in dight of the discussion that we had,
25 just prior to the break.

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S4pWoookt
} THE COURT: No.
2 (Pause)

 

 

 

3 THE COURT: Yhe Court has reviewed the record. Phere
4 are certain inconsistencies that are of note.

5 Officer Parchen testifies they stopped the car because
6 they were speeding. Officer Deloren did not dive a ticket for
7 speeding or testify anything about speeding.

8 Off ° Daleren does not seem to recall asking the

9 defendant or asking Mr. Cox anything about his prior arrest

LO record, and I don't believe that Officer Parchen heard anything
it about that either. I understand the position of the officers
1? Ls that they only took him out of the car, that is, Mr. Cox,

13 after they had found the weapon and the drugs on Mr. Cooper,

i4 Ye is not clear to the Court that Officer Deloren, from his own

IS testimony, was in a position to observe what he said he
L6 observed on Mr, Cooper; that is, if he's looking inte the car

  
    

i? from the left with only a Clashiight, and Mr, Cooper is sitting
18 up hunched over as Officer Deloren Said, and the seat back is
19 back, it ts not clear to me how Officer Deloren could see the
20 T-shirt only on the right side was pulled over the lap belt of
21 the seat belt,

22 Government's Exhibit 3, of course, 18 quite troubling.
23 It is clear that the defendant wrote that out himself. There
24 seems to be no contradiction of the fact that no ene told him
25 what to put in it. And it quite clearly says that he confessed

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02

 

  

 

 

6&4 pWoool

I. about the gun during the pat down: "The process of being

2 searched I was asked if I had anything on me. I confessed that
3 I have @ gun which was for protection and drugs."

4 The gevernment suqges Chat Mr. Cooper is such a

5 sophisticated and experienced defendant, having had two prior

6 misdemeanor convictions, that at the time that he wrote this,

? he knew to throw in a questionable practice in order to

8 challenge the gun and the drugs. JT think that the purported

9 sophistication of the defendant has been belied by his
10 tamony on the stand under cath today where he says that he
13 aS not nervous, despite the fact there were policemen standing
12 there, he knew he had a gun, and drugs on him.
13 Mr. Cooper also denies that they were stopped because
4 they swerved, which Mr. Cox acknowledges was the case.
15 However, whether that nervousness was something that could have
16 been seen by Officer Deloren From his side of the car, at 21:00
V7? or so at night, when at this point, the only illumination woulda
Lo have been his flashlight, but I believe Officer Beloren
19 testified that he was only leaning down for a matter of
20 seconds, and that he was standing up, but J must say that the
al incredibility of Mr. Cooper's or part of Mr. Cooper's testimony
22 here would suggest that he is not the sophisticated individual
23 that the government would have the Court believe, who, under
24 the pressure of having been arrested and writing out a
25 statement in his own hand, would have the foresight to stick in

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64pWeool
t that the process of being searched was when he was asked if he
2 had anything on him, because that would require a level of
3 sophistication that the Court does not believe Mr. Cooper has.
4 Tt ts alse clear from Officer Parchen's testimony that
5 at the time he inquired about the drugs, the defendant was
6 already in handcuffs. [ft is plausible that the defendant, with
7 the two policemen standing right there, did believe that he was
8 in custody and was not free to leave. Tt is not credible ta
9 the Court that Mr. Cooper would just voluntarily say as he's
1G getting out of the car to be searched anyway, I have a gun,
Ll even if he did not say that until after he was being patted
L2 dewn, believing that he was in custody.
LS This is troublesome. In terms of public safety or
id danger, if the police can't remember that they asked Mr. Cox
1S whether he had had an arrest, they would have no reason to fear
16 from him, if the only thing that they thought was a problem was
1? the demeanor of the individual seated in the passenger's seat,
ie Lt is net clear why they asked him to get out of the car in
19 that short period of time in those circumstances. And so, it
29 seems to the Court that it's merely or Lt comes down to whether
21 er not the Court believes the police officers or whether it
22 believes part of the defendant's testimony. And what the Court
23 does believe is Government's Exhibit 3, which indicates that he
24 was asked about the gun in the process of being searched. And
20 as a result of that, having been honest and telling them yes, {f

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i04
64 pWoooH

i have a gun, when asked, while being searched, and then once in
2 cuffs, saying that he did have dvugs when asked, the Court

3 finds this very troubling.

4 Ms. Strvauber.

5 MS. STRAUBER: I'd like to make a point about the

& statement, your Honar, specifically where the defendant says in
7 Exhibit 3, "The process of being searched I was asked if I had
8 anything on me, I confessed that T have a gun which is far

% protection and drugs." I dust want to make clear toa the Court
1G that in siany respects, that's not inconsistent with the
Ii testimony of the officers who said, Officer Parchen, that 1s,
Le? after he found the gun and as he continued to pat down the

i3 defendant, he continued to ask him, do you have anything on
14 you, do you have anything else that I should know about, and
iS that, also, this statement does nat purport to be a

io comprehensive description of everything that happened at the
1? scene,

18 Por example, the defendant said that the drugs were
19 for personal use. The officers testified to that after they
20 were found. This statement doesn't Say that. This statement
2] deesn't say that the only time, the first time that he was
22 asked anything was while he was being searched. So, I just
23 want Lo make clear to the Court to the extent that the
24 government did not make this clear before, I don't think this
25 statement necessarily can be read to say that it was only when

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64pWoooH
[ the defendant wes being searched that he was first asked these
2 qu and that he first said that he had a gun. I just
3 wanted fo make that point,
4 THis COURE: I hear what you're saying. But in a prier
5 sentence, he says, "We both myself and cousin was asked to come
& out of the car to be searched. The process of being searched,
7 i was asked if 7 had anything on me. f confessed that Tf have a
8 gun, which is for protection and drugs." This would not
g suggest that this is the second, third, or fourth time that he
10 mentioned that he had a gun,
Ld MS. SURAUBER: TI think it's just not clear from the
Le statement. ft mean, it certainly doesn't say that it was the
13 first time. And as to the additional sentence that your Honor
14 just read, "Both myself and my COUSIN was asked to come out of
15 the car te be searched," that does not say the officers said,
iG Come aut of the car, we're going to search you.
V7? Iothink this could be reasonably read to reflect the
18 defendant's understanding of what in fact happened. He was
Lg asked out of the car and thereafter he was searched. The
20 Statement doesn't say I was asked to come out of the car and
2d told I was going to be searched or said that that was for the
22 purpose of being searched. Soa = just think the statement
2a doesn't do as much work as all of that.
“4 THE COURT: =£ can certainly see your point of view,
25 but I just don't agree with it. And so, under the

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cilreumstances, it

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be anything

 
 

them.

suppressing

suppressing
Is
MR.

the Court's
be cosigned
know if the
upon

Bue I believe that the way that the
were obtained taints the statement,

your Honor's decision, T

106

seems to me that the gun and the druqs, once
furned over, there has not been a sufficient

far this statement to be free of taint. If they
the gun and the drugs, this doesn't seem to me to
but an acknowledgement of the fact that he did have
drugs and the gun
and therefore, I am

rT

the gun. I'm suppressing the drugs. f'm
the statement.

 

there anything else we need to do?

BAUM: Bail application, your Honor. En light of
decision, I'd ask that he be released on a bond to
by his father, who is present here today. I don't
would seek to appeal or not, but based
think he warrants at least at

gove rnimert

his point being released on bail.

THE
MS.
in light of the Court's decision, to the defendant

objection,

Strauber,
Your Honor,

COURT: Ma.

STRAUBER : the government: has no

being released on bail at this Eime,

PHIS

actually ta

by the defendant's father.
cosigned by three financially responsible persons,

requested,
the father
SOUTHERN

All right. Then the conditions are
pretrial supervision, a bond to be signed
I think that a $50,000 PRB is

COURT:
be strict

~~ who are the other two?
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64 pWoooll

MR. BAUM: Well, Judge, I would ask that -- their
family, they would propose to be family members, but in light
of the Court's decision, granting suppression, Tt would ask that
you allow him to be released just on his father's signature,
who is here today, so he can be released at this time.

THE COURT: Ali right. Then that will be a $75,060
PRB sioned by his father.

MR. BAUM: Thank you, your Honor.

THE COCURT: All right. Anything else?

MR. BAUM: Nothing further.

THE COURT: All right. This matter is adjourned.

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